Case 8:20-cv-00048-JVS-JDE Document 1014-6 Filed 11/14/22 Page 1 of 9 Page ID
                                 #:66135




                  EXHIBIT 4
Case 8:20-cv-00048-JVS-JDE Document 1014-6 Filed 11/14/22 Page 2 of 9 Page ID
                                 #:66136



   1   Joseph R. Re (Bar No. 134479)
   2
       joseph.re@knobbe.com
       Stephen C. Jensen (Bar No. 149894)
   3   steve.jensen@knobbe.com
   4   Perry D. Oldham (Bar No. 216016)
       perry.oldham@knobbe.com
   5   Stephen W. Larson (Bar No. 240844)
   6   stephen.larson@knobbe.com
       KNOBBE, MARTENS, OLSON & BEAR, LLP
   7   2040 Main Street, Fourteenth Floor
   8   Irvine, CA 92614
       Telephone: (949) 760-0404
   9   Facsimile: (949) 760-9502
  10
       Attorneys for Plaintiffs,
  11   Masimo Corporation and Cercacor Laboratories, Inc.
  12

  13                    IN THE UNITED STATES DISTRICT COURT

  14                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

  15                               SOUTHERN DIVISION

  16
       MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
  17   a Delaware corporation; and            )
       CERCACOR LABORATORIES, INC.,           ) INITIAL DISCLOSURES OF
  18   a Delaware corporation                 ) PLAINTIFFS MASIMO
                                              ) CORPORATION AND
  19               Plaintiffs,                ) CERCACOR LABORATORIES,
                                              ) INC.
  20         v.                               )
                                              )
  21   APPLE INC., a California corporation   )
                                              )
  22                                          ) Hon. James V. Selna
                   Defendant.                 ) Magistrate Judge John D. Early
  23                                          )
                                              )
  24

  25

  26

  27

  28


                                                                          Exhibit 4
                                                                            Page 1
Case 8:20-cv-00048-JVS-JDE Document 1014-6 Filed 11/14/22 Page 3 of 9 Page ID
                                 #:66137



   1         Pursuant to Federal Rule of Civil Procedure 26(a)(1), Plaintiffs Masimo
   2   Corporation (“Masimo”) and Cercacor Laboratories, Inc. (“Cercacor”)
   3   (collectively, “Plaintiffs”) hereby make the following initial disclosures to
   4   Defendant Apple, Inc. (“Apple”). These initial disclosures are based on
   5   information and documents presently available to and located by Plaintiffs and
   6   its attorneys.   Plaintiffs reserve the right to supplement, revise, correct, or
   7   otherwise amend these initial disclosures, to assert additional facts and theories
   8   that they later develop, and/or to produce additional information during the
   9   course of discovery, as provided by the Federal Rules of Civil Procedure and the
  10   Court’s Local Rules, and to rely on such information as evidence in this action.
  11   By making these disclosures, Plaintiffs do not waive any applicable privilege,
  12   work product protection, or other immunity, and reserves the right to object to
  13   the production or admissibility of any information included below.
  14   A.    INDIVIDUALS LIKELY TO HAVE KNOWLEDGE OF
  15         DISCOVERABLE FACTS
  16         Plaintiffs have not yet identified all of the persons whom they may use to
  17   support their claims and defenses in this action. Upon information and belief,
  18   other persons having discoverable information that Plaintiffs may use to support
  19   their claims may be uncovered during discovery. However, pursuant to Fed. R.
  20   Civ. P. 26(a)(1)(A)(i), Plaintiffs identify the following persons who may have
  21   discoverable information that Plaintiffs may use to support their claims or
  22   defenses. Where indicated, the individuals should be contacted through counsel
  23   for Plaintiffs at the following address and telephone number:
  24         Attn: Steve Larson
  25
             Knobbe, Martens, Olson & Bear, LLP
             2040 Main Street, 14th Floor
  26         Irvine, CA 92614
  27         Telephone: (949) 760-0404

  28

                                              -1-
                                                                                   Exhibit 4
                                                                                     Page 2
Case 8:20-cv-00048-JVS-JDE Document 1014-6 Filed 11/14/22 Page 4 of 9 Page ID
                                 #:66138



   1   NAME               AREAS OF KNOWLEDGE                  CONTACT
   2                                                          INFORMATION
       Joe Kiani,         Masimo’s business and               Masimo Corporation
   3   Masimo             products; Cercacor’s business       52 Discovery
   4   Corporation        and products.                       Irvine, CA 92618

   5                                                          TO BE CONTACTED
   6                                                          THROUGH COUNSEL
                                                              FOR MASIMO
   7   Yongsam Lee,       Masimo’s products, regulatory       Masimo Corporation
   8   Masimo             submissions and manufacturing       52 Discovery
       Corporation        processes relating to Masimo’s      Irvine, CA 92618
   9                      products, Masimo’s IT policies,
  10                      confidentiality policies, and       TO BE CONTACTED
                          document access restrictions.       THROUGH COUNSEL
  11                                                          FOR MASIMO
  12   Tracy Miller,      Masimo’s human resources            Masimo Corporation
       Masimo             policies, employment and            52 Discovery
  13   Corporation        confidentiality agreements          Irvine, CA 92618
  14
                                                              TO BE CONTACTED
  15                                                          THROUGH COUNSEL
  16                                                          FOR MASIMO
       Mohamed Diab       Masimo’s research,                  Masimo Corporation
  17
       Masimo             development, and technology;        52 Discovery
  18   Corporation        Masimo’s products; subject          Irvine, CA 92618
                          matter of the disputed patents to
  19
                          which Masimo asserts                TO BE CONTACTED
  20                      ownership and/or inventorship       THROUGH COUNSEL
                          should be corrected                 FOR MASIMO
  21
       Ammar Al-Ali       Masimo’s research,                  Masimo Corporation
  22   Masimo             development, and technology;        52 Discovery
       Corporation        Masimo’s products; subject          Irvine, CA 92618
  23
                          matter of the disputed patents to
  24                      which Masimo asserts                TO BE CONTACTED
                          ownership and/or inventorship       THROUGH COUNSEL
  25
                          should be corrected                 FOR MASIMO
  26

  27

  28

                                            -2-
                                                                              Exhibit 4
                                                                                Page 3
Case 8:20-cv-00048-JVS-JDE Document 1014-6 Filed 11/14/22 Page 5 of 9 Page ID
                                 #:66139



   1   NAME               AREAS OF KNOWLEDGE                  CONTACT
   2                                                          INFORMATION
       Walt Weber         Masimo’s research,                  Masimo Corporation
   3   Masimo             development, and technology;        52 Discovery
   4   Corporation        Masimo’s products; subject          Irvine, CA 92618
                          matter of the disputed patents to
   5                      which Masimo asserts                TO BE CONTACTED
   6                      ownership and/or inventorship       THROUGH COUNSEL
                          should be corrected                 FOR MASIMO
   7   Bilal Muhsin,      Masimo’s research,                  Masimo Corporation
   8   Masimo             development, and technology;        52 Discovery
       Corporation        Masimo’s products                   Irvine, CA 92618
   9

  10                                                          TO BE CONTACTED
                                                              THROUGH COUNSEL
  11                                                          FOR MASIMO
  12   Abraham Mazda      Cercacor’s business and             Cercacor Laboratories
       Kiani,             products.                           15750 Alton
  13   Cercacor                                               Irvine, CA 92618
  14   Laboratories
                                                              TO BE CONTACTED
  15                                                          THROUGH COUNSEL
  16                                                          FOR MASIMO
       Greg Olsen,        Cercacor’s research,                Cercacor Laboratories
  17
       Cercacor           development, and technology;        15750 Alton
  18   Laboratories       Cercacor’s products                 Irvine, CA 92618
  19
                                                              TO BE CONTACTED
  20                                                          THROUGH COUNSEL
                                                              FOR MASIMO
  21
       Kevin Pauley,      Cercacor’s research,                Cercacor Laboratories
  22   Cercacor           development, and technology;        15750 Alton Pkwy
       Laboratories       Cercacor’s products                 Irvine, CA 92618
  23

  24                                                          TO BE CONTACTED
                                                              THROUGH COUNSEL
  25
                                                              FOR MASIMO
  26

  27

  28

                                            -3-
                                                                              Exhibit 4
                                                                                Page 4
Case 8:20-cv-00048-JVS-JDE Document 1014-6 Filed 11/14/22 Page 6 of 9 Page ID
                                 #:66140



   1   NAME                 AREAS OF KNOWLEDGE               CONTACT
   2                                                         INFORMATION
       Gerry Hammarth,      Cercacor’s business and          Cercacor Laboratories
   3   Cercacor             products; Cercacor’s IT          15750 Alton Pkwy
   4   Laboratories         policies, confidentiality        Irvine, CA 92618
                            policies, and access restrictions;
   5                        sales and financial harm to        TO BE CONTACTED
   6                        Cercacor                           THROUGH COUNSEL
                                                               FOR MASIMO
   7   Former Masimo        Acquisition, use, and disclosure
   8   and/or Cercacor      of Plaintiffs’ confidential
       employees who        information
   9   went to Apple,
  10   including but not
       limited to John
  11   Aguilar, Johannes
  12   Bruinsma, Ottavia
       Golfetto, Haritha
  13   Haridas, Swapnil
  14   Harsule, Joseph
       Jagenow, Shruti
  15   Koneru, Marcelo
  16   Lamego, Inje Lee,
       Yinghui Lu, Ehsan
  17   Masoumi, Michael
  18   O’Reilly, Boris
       Oreshkin,
  19   Cornelius Rath,
  20   Will Regan, Felipe
       Tonello, Vincent
  21
       Wayne, and Rich
  22   Young.
  23         Plaintiffs reserve the right to name additional individuals with knowledge
  24   concerning their claims and defenses as discovery progresses.
  25   B.    DOCUMENTS AND THINGS IN THE POSSESSION OF
  26         COUNSEL OR THE PARTY
  27
             Plaintiffs identify the following categories of non-privileged documents,
  28
       electronically stored information, and tangible things that are in their
                                           -4-
                                                                                 Exhibit 4
                                                                                   Page 5
Case 8:20-cv-00048-JVS-JDE Document 1014-6 Filed 11/14/22 Page 7 of 9 Page ID
                                 #:66141



   1   possession, custody, or control that Plaintiffs currently believe they may use to
   2   support their claims or defenses, unless solely for impeachment. By providing
   3   the following categories of documents, Plaintiffs do not waive their right to
   4   object to the production of any document in their possession, custody, or control
   5   for any reason, including based on grounds of attorney-client privilege, work
   6   product immunity, or any other applicable privilege or immunity.
   7         Plaintiffs’ disclosure of the following categories of documents and things
   8   is based solely upon information Plaintiffs have been able to discover to the
   9   present date and shall not be deemed a representation that additional documents
  10   do not exist. Plaintiffs reserve the right to supplement these disclosures as their
  11   investigation of the facts of this case continues.
  12         1.     Documents relating to the design, development and operation of
  13                Masimo technology;
  14         2.     Documents pertaining to the asserted patents, including their
  15                prosecution histories;
  16         3.     Documents pertaining to any alleged prior art to the asserted
  17                patents;
  18         4.     Communications between Masimo and Apple;
  19         5.     License Agreement between Masimo and Cercacor;
  20         6.     Plaintiffs’ IT policies, confidentiality policies, and document
  21                access restrictions;
  22         7.     Employment Agreements between Plaintiffs and their former
  23                employees who went to Apple, including Marcelo Lamego and
  24                Michael O’Reilly; and
  25         8.     Documents pertaining to the confidential and proprietary
  26                information to which former employees of Plaintiffs who went to
  27                Apple, including Marcelo Lamego and Michael O’Reilly, had
  28                access at Plaintiffs.
                                                -5-
                                                                                    Exhibit 4
                                                                                      Page 6
Case 8:20-cv-00048-JVS-JDE Document 1014-6 Filed 11/14/22 Page 8 of 9 Page ID
                                 #:66142



   1         The documents and things identified above are located at Knobbe,
   2   Martens, Olson & Bear, LLP, 2040 Main Street, 14th Floor, Irvine, CA 92614,
   3   Masimo Corporation, 52 Discovery, Irvine, CA 92618, and/or Cercacor
   4   Laboratories, Inc., 15750 Alton Pkwy, Irvine, CA 92618.
   5   C.    STATEMENT OF BASIS FOR ANY DAMAGES CLAIMED
   6         Plaintiffs seek monetary relief for all damages sustained by Plaintiffs by
   7   virtue of Defendant’s acts, as set forth in the Complaint and any amended
   8   complaints.   Plaintiffs seek compensatory damages, lost profits, restitution,
   9   unjust enrichment, reasonable royalties, punitive damages, and/or exemplary
  10   damages. Plaintiffs also seek reasonable attorneys’ fees.
  11         Plaintiffs have not yet made a computation of any category of damages
  12   pursuant to Fed. R. Civ. P. 26(a)(1)(A)(iii) because Plaintiffs require discovery
  13   from Defendant to do so.           Plaintiffs expect that they will produce such
  14   information and supporting documentation through an expert witness and report
  15   at the appropriate time, pursuant to Fed. R. Civ. P. 26(a)(2) and the Court’s case
  16   scheduling order in this matter.
  17   D.    INSURANCE AGREEMENTS IN FORCE
  18         Plaintiffs are not aware of any insurance agreements under which an
  19   insurance carrier may be liable to satisfy all or part of any possible judgment or
  20   to indemnify or reimburse for payments made to satisfy any such judgment.
  21                                      Respectfully submitted,
  22                                      KNOBBE, MARTENS, OLSON & BEAR, LLP
  23
       Dated: April 14, 2020              By: /s/ Stephen W. Larson
  24                                          Joseph R. Re
                                              Stephen C. Jensen
  25                                          Perry D. Oldham
                                              Stephen W. Larson
  26
                                              Attorneys for Plaintiffs,
  27                                          Masimo Corporation and
                                              Cercacor Laboratories
  28

                                                -6-
                                                                                   Exhibit 4
                                                                                     Page 7
Case 8:20-cv-00048-JVS-JDE Document 1014-6 Filed 11/14/22 Page 9 of 9 Page ID
                                 #:66143



   1                                   PROOF OF SERVICE
   2              I am a citizen of the United States of America and I am employed in
   3   Irvine, California. I am over the age of 18 and not a party to the within action.
   4              On April 14, 2020, I served the within INITIAL DISCLOSURES OF
   5   PLAINTIFFS             MASIMO         CORPORATION               AND   CERCACOR
   6   LABORATORIES, INC. on the parties or their counsel shown at the email
   7   addresses shown below:
   8                            GIBSON, DUNN & CRUTCHER LLP
   9                                      Joshua H. Lerner
  10                                  JLerner@gibsondunn.com

  11                                       H. Mark Lyon,
                                       MLyon@gibsondunn.com
  12

  13
                                         Brian M. Buroker
                                     BBuroker@gibsondunn.com
  14
                                            Ilissa Samplin
  15                                  ISamplin@gibsondunn.com
  16                                    Angelique Kaounis
  17                                 AKaounis@gibsondunn.com

  18              I certify and declare under penalty of perjury under the laws of the State
  19   of California that I am employed in the office of a member of the bar of this
  20   Court at whose direction the service was made, and that the forgoing is true and
  21   correct.
  22              Executed on April 14, 2020, at Irvine, California.
  23

  24
                                                         Karina Villanueva
  25   32465232

  26

  27

  28

                                                  -7-
                                                                                      Exhibit 4
                                                                                        Page 8
